
266 P.3d 220 (2012)
In re the Estate of Marcella L. JONES, Deceased.
No. 86454-3.
Supreme Court of Washington.
January 4, 2012.

ORDER
¶ 1 Department I of the Court, composed of Chief Justice Madsen and Justices C. Johnson, Owens, J.M. Johnson and Wiggins, considered at its January 4, 2012, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is denied and the Respondents Jeffrey and Peter Jones' request for attorney fees is granted. The Respondents Jeffrey and Peter Jones are awarded reasonable attorney fees and expenses pursuant to RAP 18.1(j). The amount of the attorney fees and expenses will be determined by the Supreme Court Clerk pursuant to RAP 18.1. Pursuant to RAP 18.1(d), Respondents Jeffrey and Peter Jones should file an affidavit with the Clerk of the Washington State Supreme Court.
/s/ Madsen, C.J.
CHIEF JUSTICE
